                                                        UNITED STATES BANKRUPTCY COURT
                                                               NORTHERN DISTRICT OF CALIFORNIA
  In re:   Maximino Rodriguez                                          Case No.
           Maria Evelia Rodriguez
                                                                          Chapter 13 Plan
                                     Debtor(s).
1.    The future earnings of the Debtor(s) are submitted to the supervision and control of the Trustee, and the Debtor(s) will pay to the
      Trustee the sum of     91.00     each month. Initial attorneys fees are requested in the amount of $     5,350.00    .
          Debtor(s) elect a voluntary wage order.
2.    From the payments received, the Trustee will make disbursements as follows:
      (a) On allowed claims for expenses of administration required by 11 U.S.C. § 507 (a)(2) in deferred payments.
      (b) On allowed secured claims, which shall be treated and valued as follows:
                                                                                             Estimated
                                                                          Value of           Mortgage/Lease            Adequate Protection                   Interest Rate
       Name                                                               Collateral         Arrears                   Payments (If specified)              (If Specified)
       -----
            [The valuations shown above will be binding unless a timely objection to confirmation is filed. Secured claims will be allowed for the value of the collateral
            or the amount of the claim, whichever is less, and will be paid the adequate protection payments and the interest rates shown above. If an interest rate is not
            specified, 7% per annum will be paid. The remainder of the amount owing, if any, will be allowed as a general unsecured claim paid under the provisions
            of ¶ 2(d).]
      (c) On allowed priority unsecured claims in the order prescribed by 11 U.S.C. § 507.
      (d) On allowed general unsecured claims as follows:
               at a rate of     cents on the dollar. The estimated term of the plan is     months. (Percentage Plan)
            XX      the sum of $4,914.00         payable over 54     months, distributed pro rata, in amounts determined after allowed
          administrative, secured and priority unsecured claims are paid. The plan payments will continue at the highest monthly
          payment provided in ¶ 1 as necessary to pay all allowed administrative, secured and priority unsecured claims within sixty
          months of confirmation. (Pot Plan)
3.    The debtor(s) elect to reject the following executory contracts or leases and surrender to the named creditor(s) the personal or real
      property that serves as collateral for a claim. The debtor(s) waive the protections of the automatic stay and consent to allow the
      named creditor(s) to obtain possession and dispose of the following identified property or collateral without further order of the
      court. Any allowed unsecured claim for damages resulting from the rejection will be paid under paragraph 2(d).
       -NONE-
4.    The Debtor(s) will pay directly the following fully secured creditors and lessors or creditors holding long-term debt:
      Name                                                                                            Monthly Payment
       Bank of America, act. no. ****3899                                                                                                283.30
       California Housing Finance Agency, act. no. ****                                                                                  959.56
       Monterey Credit Union, act. no. ****4000                                                                                          600.00
       Monterey Credit Union, act. no. ****4500                                                                                          365.00
5.    The date this case was filed will be the effective date of the plan as well as the date when interest ceases accruing on unsecured
      claims against the estate.
6.    The Debtor(s) elect to have property of the estate:
           revest in the debtor(s) at such time as a discharge is granted or the case is dismissed.
        X revest in the debtor(s) upon plan confirmation. Once property revests, the Debtor(s) may sell or refinance real or personal
      property without further order of the court, upon approval of the Chapter 13 Trustee.


 /s/ Maximino Rodriguez                                July 1, 2014                /s/ Maria Evelia Rodriguez                               July 1, 2014
 Debtor's Signature                        Date                    Joint Debtor's Signature                        Date
I, the undersigned, am the attorney for the above named Debtor(s) and hereby certify that the foregoing chapter 13 plan is a verbatim
replica of pre-approved chapter 13 plan promulgated pursuant to B.L.R. 1007-1 for use in the San Jose Division.

 Dated:        July 1, 2014                                                                    /s/ Clark A. Miller
                                                                                               Clark A. Miller 51151
                                                                                               Attorney for Debtor(s)




Rev. 10/05 (This certification must be signed for any Model Chapter 13 Plan generated by WordPerfect, Word, or other word processing program.)
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
               Case: 14-52923                  Doc# 2            Filed: 07/09/14         Entered: 07/09/14 09:45:58                        Page 1 of 1
